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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

CONSUELO CERVANTES,
Plaintiff,
v. EP-l 8-CV-11 1-PRM

EL PASO HEALTHCARE
SYSTEM LTD d/b/a DEL SOL
MEDICAL CENTER,

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Defendant. §

MEMORANDUM OPINION AND ORDER GRANTING DEFENDANT’S
MOTION FOR SUMMARY JUDGMENT

On this day, the Court considered Defendant El Paso Healthcare
System LTD d!b/a Del Sol Medical Center’s [hereinafter “Defendant”]
“l\/lotion for Summary Judgment” (ECF No. 21) [hereinafter “l\/lotion”], filed
on March 14, 2019; Plaintiff Consuelo Cervantes’s [hereinafter “Plaintiff”]
“Response to Defendant’s Motion for Summary Judgrnent” (ECF No. 24),
filed on April l, 2019; and Defendant’s “Reply in Support of its Motion for
Surnmary Judgment” (ECF No. 26), filed on April 5, 2019, in the above-
captioned causes After due consideration, the Court is of the opinion that the
Motion should be granted for the reasons that follow.

I. FACTUAL AND PROCEDURAL BACKGROUND
This case centers around Whether Plaintiff Was properly screened and

stabilized in compliance With the Emergency l\/ledical Treatment and Active

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Labor Act after she presented at the Del Sol Medical Center (Del `Sol) With
abdominal pain. On April 9, 2016, at approximately 6:50 PM, Plaintiff
sought emergency care for abdominal pain at the Del Sol emergency room.
l\/lot. l; Resp. 1. At approximately 6:51 Pl\/l, Plaintiff’ s vital signs Were taken.
Resp. Ex. A., at 5. Dr. Shariq Khan Was assigned to examine Plaintiff. l\/lot.
2; Resp. Ex. A. Plaintiff previously had an abdominal surgery, specifically,
an umbilical hernial repaired With mesh. Resp. Ex. A, at 3, 9, 25. At l
approximately 7212 PM, Dr. Khan completed a focused physical examination2
and ordered laboratory tests, including a CT scan. l\/lot. Ex. A, at 30:.2-37:19.
The CT scan confirmed that Plaintiff had a recurrent Ventral hernia
containing bowel loops.3 Id. at 39:11-14. No radiologist contacted Dr. Khan

regarding an emergent finding based on the CT scan. Icl. at 39:17-21.

 

1 A “hernia” is defined as “the protusion of a loop or knuckle of an organ or
tissue through an abnormal opening.” DORLAND’S ILLUSTRATED MEDICAL
DICTIONARY 859 (31st ed. 2007). An “umbilical hernia” is “a type of
abdominal hernia in Which part of the intestine protrudes at the umbilicus
and is covered With skin and subcutaneous tissue.” Id. at 862.

2 Specifically, the focused physical examination Was “[f]ocused to the history
of present illness”_namely, Plaintiff’s abdominal pain. Mot. Ex. A, at 30:8-
l'7.

3 “Recurrent” is defined, in relevant part, as “returning after remissions.”
DoRLAND’s ILLUsTRATED MEDICAL DICTioNARY 1632 (31st ed. 2007).
“Ventral” means “pertaining to the abdomen.” Id. at 2075. “BoWel” is
“intestinum.” Icl. at 246. v

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Additionally, according to Plaintiff’ s medical records, Plaintiff was found to
have a non-reducible hernia. Resp. Ex. C, at 1; Resp. Ex. A, at 5. Dr. Khan
determined that the hernia was non-reducible when he palpated the hernia
during his physical examination of Plaintiff. Mot. Ex. A, at 38:23-39:10.
However, Dr. Khan did not formally attempt to reduce the hernia. Id.
According to the affidavit of William A]len Gibson, M.D., which
Plaintiff attaches to Plaintiff' s Response, “[a] non-reducible hernia
containing loops of bowel indicates the bowel is trapped, incarcerated in
medical jargon.” Resp. Ex. C, at 2. Furthermore, if the incarcerated hernia
causes ischemia4 of the intestine, it is a “strangulated hernia” and is a
“surgical emergency” because it could permanently injure the bowel. 5 Id.
Dr. Gibson further testified that “[o]n April 9, 2016, [Plaintiff] was
documented to have a non-reducible supra-umbilical hernia that was causing

her severe abdominal pain.” Id. In addition, the doctor testified that

 

4 “lschemia” is “deficiency of blood in a part, usually due to functional
constriction or actual obstruction of a blood vessel.” DORLAND’S
ILLUsTRATED MEDICAL DIoTloNARY' 975 (31st ed. 2007).

5 An “incarcerated hernia” is a “hernia of intestine that cannot be returned or
reduced by manipulation; it may or may not become a strangulated hernia.”
DoRLAND’s ILLUsTRATED MEDICAL DICTIoNARY 861 (31st ed. 2007). 'A
“strangulated hernia” is “an incarcerated hernia that is so tightly constricted
as to compromise the blood supply of the contents of the hernial sac, leading
to gangrene.” Id. at 862.
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“[s]evere abdominal pain is an emergency medical condition.” Id.

Dr. Khan gave Plaintiff valium to relax her abdominal rectus muscle
for any possible muscle spasm. l\/lot. Ex. A, at 39:22-41:3. ln addition,
Plaintiff was provided the narcotic hydromorphone and maintenance fluid.
Id. at 41:4-42:19. At 9:43 Pl\/l, Dr. Khan reevaluated Plaintiff and found
that her abdominal pain had improved. Id. at 43:14-24. ln addition, Dr.
Khan determined that there was no evidence of an incarcerated hernia. Id.
at 45:5-11. Following his screening examination of Plaintiff and treatment
of Plaintiff, Dr. Khan determined that Plaintiff did not have an emergency
medical condition and diagnosed Plaintiff with a “recurrent hernia.” Id. at
94:2~9, 94:18_20. At 9:46 Pl\/I, Plaintiff was discharged with prescriptions
for pain and nausea medication Id. at 51:16-24; Resp. Ex. A,v at 10. Dr.
Khan believedthat, at the time that Plaintiff was discharged, her condition
had stabilized and he expected no material deterioration of her condition.
l\/lot. Ex. A, at 94:10_17.

However, after Plaintiff was discharged, Plaintiff was still in pain.
Resp. Ex. D. Accordingly, Plaintiff returned to the Del Sol emergency room
around 1:50 Al\/l on April 10, 2016. See id.; Resp. Ex. B; Compl. 3. Dr. Khan

again performed a medical screening examination on Plaintiff Mot. Ex. A,

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at 94:24-95:8. After the medical screening examination and speaking with
the treating surgeon who was on call for the surgeon who had performed
Plaintiff s prior hernia surgery, Dr. Khan determined that Plaintiff had an
emergency medical condition. Id. at 95:6-96:23; l\/lot. 3 n.3.

Around 6:30 AM, Plaintiff was discharged from Del Sol. Id. at 97:21-
23. Thereafter, she arrived at Providence East’s emergency department at
approximately 7:00 Al\/l. Resp. Ex. D. Plaintiff alleges that, at that time, her
vital signs indicated that she was in shock. Compl. 3. Plaintiff further
alleges that, at Providence East, “Plaintiff was found to have a perforated
bowel that caused her to develop sepsis.”6 Id. Additionally, she alleges that
“[s]he underwent surgeries and had a long and complicated hospital stay.”
Id. Finally, “[s]he was discharged on May 15, 2016 and transferred to a
nursing facility where she remained until mid-July, 2016.” Id.

On April 2, 2018, Plaintiff filed her Complaint, bringing suit pursuant
to 42 U.S.C. § l‘395dd, the Emergency Medical 'l`reatment and Active Labor
Act (“EMTALA”). Plaintiff s claims in this case appear to be limited to her

April 9, 2016, medical screening examination See Compl. Though the

 

6 “Perforated” means “pierced with holes.” DORLAND’S ILLUSTRATED
MEDICAL DICTIONARY 1430 (Slst ed. 20()'7). “Sepsis” is “the presence in the
blood or other tissues of pathogenic microorganisms or their toxins.” Id. at
1718.

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factual allegations in her Complaint describe both Plaintiff s April 9th and
April 10th visits to Del Sol Medical Center, and her cause of action does not
specify the date of the alleged El\/ITALA violations, she only alleges that
“Defendant’s EMTALA violation of April 9, 2016 is a proximate cause of
[Plaintiffs] injuries and damages.” Id. at 3. Notably, she does not explicitly
allege an April 10, 2016, EMTALA violation. See id. Furthermore,
Defendant states in its Motion that Plaintiff “does not allege that the
examination she was given on April 10 violated EMTALA. Rather, her
complaint is limited to the screening examination performed on April 9.”
Mot. 3. n.3.7 Plaintiff does not dispute Defendant’s statement in her
Response. Furthermore, in its Motion, Defendant only argues that the Court
should enter summary judgment regarding Plaintiff s April 9,. 2016, claims.

Accordingly, in considering Defendant’s l\/Iotion, the Court will only consider

 

7 ln addition, Defendant notes that Plaintiff has filed claims in connection
with the April 10, 2016, screening as well as her treatment at Sierra
Providence East in other courts. Mot. 3 n.3; see Notice of Related Cases,
April 5, 2018, ECF No. 4; Joint Case Management Plan 11 10, Aug. 9, 2018,
ECF No. 12. Specifically, Plaintiff has “brought a state court suit against
Del Sol, alleging the screening examination she received on April 10 violated
EMTALA. See Cervantes v. El Paso Healthcare System Ltd., No.
2017DCV417 5 in the County Court at Law Number Three of El Paso County,
Texas.” Mot. 3. n.3. Additionally, Plaintiff has “brought an El\/ITALA action
against Tenet Hospitals, Ltd. for the treatment she received at Sierra
Providence East. See Ceruantes v. Tenet Hospitals, Ltd., No. 3:18-cv-00110-
KC in the Western District of Texas, El Paso Division.” Id.

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Plaintiff s claim related to Plaintiffs April 9, 2016, visit.
II. LEGAL STANDARD

A. Summary Judgment

Pursuant to Federal Rule of Civil Procedure 56(a), a court “shall grant
summary judgment if the movant shows that there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” A genuine dispute exists “if the evidence is such that a reasonable
[finder of fact] could return a verdict for the nonmoving party.” Rogers v.
Bromac Title Servs., LLC, 755 F.3d 347, 350 (5th Cir. 2014) (quoting
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). “A dispute ‘is

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material if its resolution could affect the outcome of the action. Exxon
Mobil Corp. U. United States, 108 F. Supp. 3d 486, 504 (S.D. Tex. 2015)
(quoting DIRECTV, Inc. v. Robson, 420 F.3d 532, 536 (5th Cir. 2005)).
“Under Federal Rule of Civil Procedure 56(c), the party moving for
summary judgment bears the initial burden of . . . ‘identifying those portions
of [the record] which it believes demonstrate the absence of a genuine issue
of material fact.”’ Norman u. Apache Corp., 19 F.3d 1017, 1023 (5th Cir.
1994) (quoting Celotex Corp. z). Catrett, 477 U.S. 317, 323 (1986)). When the

moving party has met its initial burden, “the nonmovant must identify

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specific evidence in the record and articulate the manner in which that
evidence supports that party’s claim.” Johnson v. Deep E. Texas Reg’l
Narcotics Trafficking Task Force, 379 F.3d 293, 301 (5th Cir. 2004). ln
adjudicating a motion for summary judgment, a court “consider[s] evidence
in the record in the light most favorable to the non-moving party and draw[s]
all reasonable inferences in favor of that party.” Bluebonnet Hotel Ventures,
LLC U. Wells Fargo Bank, N.A., 754 F.3d 272, 276 (5th Cir. 2014). However,
if the non-moving party fails to respond or otherwise “fails to properly
address another party’s assertion of fact as required by Rule 56(0), the court
may . . . grant summary judgment if the motion and supporting materials-
including the facts considered undisputed_show that the movant is entitled
to it.” Fed. R. Civ. P. 56(e)(3).

B. The Ernergency Medical Treatment and Active Labor Act

The Emergency Medical Treatment and Active Labor Act (“EMTALA”)
“was not intended to be used as a federal malpractice statute, but instead
Was enacted to prevent ‘patient dumping’, which is the practice of refusing to
treat patients who are unable to pay.” Marshall on Behalf ofMarshall u. E.
Carroll f)ar. Hosp. Serl). Dist., 134 F.3d 319, 322 (5th Cir. 1998). Pursuant to

EMTALA, if an individual comes to the emergency department of a hospital

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and requests medical treatment, then “the hospital must provide for an
appropriate medical screening examination within the capability of the
hospital’s emergency department, including ancillary services routinely
available to the emergency department, to determine whether or not an
emergency medical condition . . . exists.” 42 U.S.C. § 1395dd(a). lf the
hospital determines that the individual has an “emergency medical
condition,” then the hospital must either (A) provide, at the hospital, “further
medical examination and.such treatment as may be required to stabilize the
medical condition,” or (B) appropriately transfer the individual to another
medical facility in accordance With EMTALA’s requirements for transfer. Id.
§ 1395dd(b)(1).
III. ANALYSIS

Pursuant to EMTALA, Plaintiff brings a screening claim, alleging that
Defendant failed to provide Plaintiff with an appropriate medical screening
examination to determine if she had an emergency medical condition. See
Compl.; Joint Case Management Plan 1[ 3. ln addition, Plaintiff brings a
failure to stabilize claim, alleging that Defendant was aware of her

emergency medical condition but failed to stabilize her prior to discharge

See id.

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A. Failure to Provide Appropriate Medical Screening Claim

Plaintiff argues that Defendant failed to provide an appropriate
medical screening examination, as required by EMTALA. What constitutes
an “appropriate medical screening examination” is not defined by EMTALA.
Marshall, 134 F.3d at 323. However, most courts have defined the phrase
“as a screening examination that the hospital would have offered to any
other patient in a similar condition with similar symptoms.” Id. (collecting
cases). The burden is on the plaintiff to demonstrate that the hospital failed
to provide an appropriate medical examination pursuant to El\/ITALA. Id. at
323~24. The plaintiff may carry its burden by demonstrating one of the
following:

. (1) the hospital failed to follow its own standard screening
procedures; or (2) there were “differences between the screening
examination that the patient received and examinations that
other patients with similar symptoms received at the same
hospital”; or (3) the hospital offered “such a cursory screening
that it amounted to no screening at all.”

Fewins v. Granbury Hosp. Corp., 662 F. App’x 327, 331 (5th Cir. 2016)
(quoting Guzman l). Memorial Hermann Hosp. Sys., 409 F_. App’x 769, 773

(5th Cir. 2011)). “[A]n EMTALA ‘appropriate medical screening

examination’ is not judged by its proficiency in accurately diagnosing the

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patient’s illness, but rather by whether it was performed equitably in
comparison to other patients with similar symptoms.” Marshall, 134 F.3d at
322. “Negligence in the screening process or providing a faulty screening or
making a misdiagnosis, as opposed to refusing to screen or providing
disparate screening, does not violate El\/[TALA, although it may Violate state
malpractice law.” Guzman v. Mem’l Hermann Hosp. Sys., 637 F. Supp. 2d
464, 482 (S.D. Tex. 2009), aff’d, 409 F. App’x 769 (5th Cir. 2011). ln short,
“[t]he essence of [the screening] requirement is that there be some screening
procedure, and that it be administered even-handedly.” Correa v. Hosp. San
Francisco, 69 F.3d 1184, 1192 (1st Cir. 1995).

Here, Defendantcites to evidence in the record demonstrating that Dr.
Khan performed a medical screening examination on Plaintiff and that the
medical screening examination was the same screening examination that
other patients presenting with similar symptoms would have received. See
Mot. 5. ln particular, Dr. Khan testified that he performed a medical
screening examination, which involved lab work, a CT scan, a physical exam,
and obtaining vital signs, and that this medical screening examination
performed on Plaintiff was similar to that any other patient would have

received if they presented with similar symptoms Mot. Ex. A, at 92:24-

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93:21. Accordingly, Defendant has provided evidence establishing that
Defendant, through Dr. Khan, performed a medical screening examination
and that it was performed equitably. Therefore, Defendant has met its
initial burden of identifying portions of the record that it believes
demonstrate an absence of genuine issue of material fact.

As Defendant has met its initial burden, Plaintiff “must identify
specific evidence in the record and articulate the manner in which that
evidence supports that party’s claim.” Johnson, 379 F.3d at 301.
Speci_fically, in order to avoid summary judgment on Plaintiff s screening
claim, Plaintiff must “present evidence showing that there was a genuine
issue of material fact whether [Defendant] had provided an EMTALA~
appropriate medical examination.” Buras u. Highland Cmty. Hosp., 432 F.
App’x 311, 313 (5th Cir. 2011) (citing Marshall, 134 F.3d at 323).

According to Plaintiff, Dr. Khan failed to ascertain several pieces of
information when he performed the medical screening examination, Resp.
5-6. Specifically, Plaintiff cites to Dr. Khan’s testimony that (1) he did not
try to reduce Plaintiff s hernia because he did not know “what was going on”

underneath it; (2) he did not know where the mesh was implanted from her

prior surgery; (3) he did not know what surgery had been previously

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performed on Plaintiff; (4) he did not know when a bowel obstruction would
occur; (5) he did not know when vomiting would occur due to a bowel
obstruction; (6) he did not discuss the CT with a radiologist; and (7) he did
not consult with the surgeon on call. Id. (citing Resp. Ex. F). Furthermore,
Plaintiff argues that Dr. Khan “admitted he did not have enough information
or expertise regarding complications of an incarcerated hernia.” Id. at 5.

In arguing that Dr. Khan should have made certain medical inquiries
in order to determine whether Plaintiff had an emergency medical condition,
Plaintiff appears to argue that Dr. Khan was negligent in his medical
screening examination, However, “a treating physician’s failure to
appreciate the extent of the patient’s injury or illness, as well as a
subsequent failure to order an additional diagnostic procedure, may
constitute negligence or malpractice, but cannot support an EMTALA claim
for inappropriate screening.” Marshall, 134 F.3d at 323. Accordingly, even
if Plaintiff established that Dr. Khan was negligent in failing to provide
certain additional screening during his medical screening examination, such
negligence is inapposite to whether Defendant provided an appropriate
medical screening pursuant to El\/ITALA.

Rather, Plaintiff may establish that the screening was inappropriate

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pursuant to EMTALA by showing that Plaintiff s screening was disparate, in
that the hospital failed to follow its own standard screening procedure or
Plaintiff was treated differently than other patients with similar symptoms,
or that the screening was so cursory that it amounted to no screening at all.
See Fewins, 662 F. App’x at 331. Though Plaintiff does not appear to d
explicitly argue that any of these three theories apply, the Court will
consider whether the facts in the record support the three theories

1. Noncompliance with Standard Screening Procedures

First, the record does not suggest that the hospital failed to follow its
standard screening procedure, To create al genuine issue of fact regarding d
whether a hospital failed to follow its standard screening procedure, a
plaintiff must point to a specific procedure required by the hospital and
argue that the specific procedure was not performed during the plaintiffs
screening See King U. VHS San Antonio Partners, LLC, No. SA-16-CV-1201-
XR, 2018 WL 2147510, at *9 (W.D. Tex. May 9, 2018) (denying hospital’s
motion for summary judgment on EMTALA claim when the plaintiff alleged
that the hospital did not follow its own standard screening procedure, which
required a focused physical exam, and argued that the doctor did not

perform a complete focused physical exam); Stiles v. Tenet Hosps. Ltd., 494

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F. App’X 432, 436 (5th Cir. 2012) (holding that summary judgment for
hospital was proper and that whether the patient was physically examined
by a physician was immaterial When the hospital’s policy did not require
such an examination).

Here, Plaintiff cites no facts in the record that suggest that the
hospital had a specific protocol and that the hospital failed to follow that
protocol in examining Plaintiff, thus disparately screening Plaintiff.
Regarding the several actions which Plaintiff emphasizes that Dr. Khan
failed to perform_such as consulting with the radiologist or obtaining
additional information regarding Plaintiff s prior surgery_Plaintiff does not
argue and cites no evidence in the record indicating that such actions are
part of the standard screening procedure at Del Sol Medical Center,

Plaintiff cites Defendant’s admission that at Del Sol Medical Center, “a
medical screening examination is the process to reach, with reasonable
clinical confidence, the point at which it can be determined whether or not
the individual has an emergency condition or not.” Resp. 5 (citing Resp. Ex.
E). Plaintiff then argues that Dr. Khan’s screening of Plaintiff failed to
provide a basis to decide with reasonable clinical certainty whether or not

Plaintiff had an emergency medical condition. Id. at 6. However,

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Defendant’s general requirement for a medical screening examination is not
the type of specific “protocol” or “procedure” relevant to demonstrating
disparate treatment in a specific case. The general policy does not fit within
the common understanding of a “protocol” or “procedure” as set of detailed,
specific steps.8 Further, case law regarding the issue of a hospital’s
noncompliance with its own standard screening protocol tends to focus on
whether the hospital completed a specific examination as part of screening
See, e.g., King, 2018 WL 2147510, at *9 (discussing whether doctor
performed a complete focused physical exam). Accordingly, Plaintiff has not
created a dispute of fact regarding whether Defendant failed to follow its
standard screening procedure in administering its medical screening
examination of Plaintiff.

Furthermore, Plaintiff points to the fact that Defendant did not have a
specific protocol for the medical screening of a patient with abdominal pain.
See Resp. 5; Resp. Ex. F, at 14:9-15:11. However, “EMTALA permits a
hospital to have a general, as opposed to a symptom-specific, screening policy

or procedure.” Guzman, 637 F. Supp. 2d at 494. Accordingly, Defendant’s

 

8 ln relevant part, a “protocol” is defined as a “detailed plan of a . . . medical .
. . treatment, or procedure,” and a “procedure” is defined as a “series of steps
followed in a regular definite order.” MERRIAM-WEBSTER’S COLLEGIATE
DICTIONA_RY 926, 936 (10tl1 €d. 2001).

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lack of a standard screening examination protocol for a patient with
abdominal pain does not create an EMTALA violation.

In sum, Plaintiff s allegations and the summary judgment evidence,
taken in the light most favorable to Plaintiff, do not support a theory that
Plaintiff s medical screening examination failed to comply with Defendant’s
screening protocol. v

2. Differences in Screening Between Plaintiff and
Similar Patients

Furthermore, the undisputed facts in the record demonstrate that
there were no “differences between the screening examination that the
patient received and examinations that other patients with similar
symptoms received at the same hospital.” Fewins, 662 F. App’x at 331. Dr.
Khan testified that the medical screening exam that Plaintiff received was
the same or similar to the exams other patients would have received if they
presented with the same or similar symptoms and history. Mot. Ex. A, at
93:16-21. Plaintiff does not argue that she was treated differently than
other patients with the same or similar symptoms Furthermore, she
provides no evidence that other patientslwith similar symptoms received a
different screening examination than Plaintiff did. Accordingly, there is no

dispute of material fact regarding whether Plaintiff was treated differently

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than similar patients

3. Cursory Screening

A screening violates EM'l`ALA if it is “‘so cursory’ that it is ‘not
designed to identify acute and severe symptoms that alert the physician of
the need for immediate medical attention to prevent serious bodily injury.”’
Guzman, 637 F. Supp. 2d at 483 (quoting Bryant v. Adventist Health
system/Wesz, 289 F.3d 1162, 1166 ns (eth cir. 2002)). However, “an
emergency room physician is only ‘required by EMTALA to screen and treat
the patient for those conditions the physician perceives the patient to have.”’
Id. (quoting Hunt u. Lincoln Cty. Memorial Hosp., 317 F.Bd 891, 893 (8th Cir.
2003)).

Here, the undisputed facts in the record establish that Dr. Khan’s
medical screening was not so cursory “that it amounted to no screening at
all, in that it was not designed to detect acute, severe symptoms.” Guzman,
637 F. Supp. 2d at 481 (citing Correa, 69 F.3d at 1192-93). Dr. Khan
examined Plaintiff in order to determine whether she had an emergency
medical condition. Mot. Ex. A, at 92:20-93:05. Specifically, Dr. Khan
completed a focused physical examination of Plaintiff and ordered laboratory

tests, including a CT scan. Id. at 30:2-37:19. Dr. Khan reviewed his

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imaging and laboratory findings and determined that there was no evidence
of incarcerated tissue. Id. at 45:5-11. Based on his medical screening exam
and after providing treatment to Plaintiff, Dr. Khan diagnosed Plaintiff with
a recurrent hernia and determined that Plaintiff did not have an emergency
medical condition, Id. at 94:2_23.

Plaintiff cites no case suggesting that such a screening is cursory or
otherwise fails to satisfy EMTALA’s requirement that a hospital perform an
appropriate screening, Rather, Dr. Khan’s screening of Plaintiff is in line
with screening examinations which courts have held, based on summary
judgment evidence, were not cursory as a matter of law. See Guzman, 637 F.
Supp. 2d at 484 (holding that there Was no EMTALA violation When the
record demonstrated that two nurses and one doctor inquired about the
plaintiffs symptoms, took a medical history, physically examined him,
ordered a complete blood count test, reviewed all results, and provided
treatment); Fewins, 662 F. App’x at 332 (affirming lower court’s grant of '
summary judgment in favor of hospital and holding that examination was
not cursory when the doctor ordered a CT and lab tests, reviewed results of
the lab tests, and consulted with a radiologist). Therefore, based on the

undisputed facts regarding Dr. Khan’s examination of Plaintiff, the Court

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determines that the medical screening examination was not so cursory that
it amounted to no screening at all.

ln sum, the undisputed facts in the record establish that Plaintiff was
not screened disparater or subject to a screening that was so cursory that it
amounted to no screening at all. Accordingly, the _Court is of the opinion that
summary judgment should be granted for Defendant on Plaintiff s screening
claim.

B. Failure to Stabilize Claim

Pursuant to EMTALA, if a hospital determines that an individual has
an emergency medical condition, the hospital must provide “such further
medical examination and such treatment as may be required to stabilize the
medical condition,” or, appropriately transfer the individualto another
medical facility in accordance with certain requirements 42 U.S.C. §
1395dd(b). EMTALA defines an “emergency medical condition,” in relevant
part, as follows:

a medical condition manifesting itself by acute symptoms of

sufficient severity (including severe pain) such that the absence

of immediate medical attention could reasonably be expected to

result in-- l

(i) placing the health of the individual . . . in serious
jeopardy,

(ii) serious impairment to bodily functions, or
(iii) serious dysfunction of any bodily organ or part . . .

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Id. § 1395dd(e)(1)(A). “[T]o stabilize” means “to provide such medical
treatment of the condition as may be necessary to assure, within reasonable
medical probability, that no material deterioration of the condition is likely
to result from or occur during the transfer of the individual from a facility.”
42 U.S.C. § 1395dd(e)(3)(A). “The duty to stabilize does not arise unless the
hospital has actual knowledge that the patient has an unstabilized medical
emergency.” Battle ex rel. Battle v. Mem’l Hosp. at Gulfport, 228 F.3d 544,
558 (5th Cir. 2000) (citing Marshall, 134 F.3d at 325). “Whether a patient is
in fact suffering from an emergency medical condition is ‘irrelevant for
purposes of [EMTALA].”’ Guzman, 637 F. Supp. 2d at 505 (quoting Harris U.
Health & Hosp. Corp., 852 F. Supp. 701, 703 (S.D. lnd. 1994)). Rather, “[t]he
statutory language makes clear that ‘what matters is the hospital’s
determination of the patient’s medical status The standard is a subjective
one.”’ Id. (quoting Harris, 852 F. Supp. at 703). Accordingly, “[t]he duty to
stabilize is determined in reference to the diagnosis, not in hindsight for
what [the patient] ‘turned out to have.”’ Id. at 506 (quoting Hoffman v.
Tonnemacher, 425 F. Supp. 2d 1120, 1142 (E.D. Cal. 2006)).

Here, Defendant cites to evidence in the record demonstrating that Dr.

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Khan determined that Plaintiff was not suffering from an emergency
medical condition at the time that Plaintiff was discharged Mot. 3.
Specifically, Dr. Khan testified that, at the time he discharged Plaintiff, he
did not believe that she was suffering from an emergency medical condition.
Mot. Ex. A, at 94:2-17. Accordingly, Defendant has met its initial burden of
demonstrating that Defendant had no actual knowledge of Plaintiff s
emergency medical condition and, therefore, had no duty to stabilize Plaintiff
prior to discharge

Therefore, Plaintiff must cite to evidence in the record and show how
the evidence supports Plaintiff s claim. Specifically, to avoid summary
judgment on her stabilization claim, Plaintiff must provide evidence
suggesting that Defendant had actual knowledge that she was suffering from
an emergency medical condition. Plaintiff cites to Dr. Khan’s April 10th
diagnosis of an emergency medical condition, attaches the affidavit of
William Allen Gibson, M.D., and attaches Plaintiff s affidavit testifying
about her pain at the time of her discharge Plaintiff does not explicitly
argue that such evidence demonstrates that Defendant had actual
knowledge of Plaintiffs emergency medical condition. Nonetheless, the

Court will consider whether the evidence creates a genuine dispute of fact as

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to Defendant’s knowledge of an emergency medical condition.

1. April 10th Diagnosis
Plaintiff argues that Dr. Khan “admits to violating EMTALA.” Resp. 4.

Specifically, Plaintiff asserts that Dr. Khan testified that “severe abdominal
pain is an emergency medical condition.” Id. at 2 (citing Resp. Ex. F at
106:18-107:11). Furthermore, Plaintiff argues, Dr. Khan “testified that
[Plaintiff]’s severe abdominal pain was an emergency medical condition but,
twice he discharged [Plaintiff] while she still had severe abdominal pain.”9
Id. In other words, Plaintiff argues, Dr. Khan “acknowledged that [Plaintiff]
had an emergency medical condition but, instead of stabilizing her, he twice
violated EMTALA by discharging, or dumping, her.” Id.
In support of Plaintiff s claim that Dr. Khan testified that Plaintiff s

severe abdominal pain was an emergency medical condition, Plaintiff cites
Dr. Khan’s testimony regarding Plaintiff s April 10th visit. Resp. 2 (citing

Resp. Ex. F, at 106:18-107:11). ln his deposition, Dr. Khan testified that,

 

9 Here, in Plaintiff s Response, Plaintiff appears to contend that Defendant
violated EMTALA during Plaintiff s April 10th visit. However, as explained
in Part l of this Order, Defendant only moves for summary judgment
regarding Plaintiff s April 9th EMTALA claims Accordingly, the Court will
only make a determination regarding Plaintiffs claims related to her April
9th visit to Del Sol Medical Center. The Court will, however, consider
Plaintiffs April 10th visit to the extent that it is relevant to Defendant’s
knowledge of an emergency medical condition on April 9th.

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during Plaintiff s April 10th visit, he determined that the severity of
Plaintiff s abdominal pain was an emergency medical condition, Resp. Ex. F,
at 106:18-107:11. Contrary to Plaintiff s assertion, Dr. Khan did not testify
that abdominal pain is generally an emergency medical condition. See id.
Furthermore, he did not testify that he determined that Plaintiff had an
emergency medical condition during her April 9th visit. See id.

lndeed, Plaintiff cites no evidence in the record showing that Dr. Khan
determined or that Defendant otherwise had knowledge that Plaintiff had an
emergency medical condition during her April 9th visit. Rather, Dr. Khan
testified that, on April 9th, following his screening examination of Plaintiff
and treatment of Plaintiff, he determined that Plaintiff did not have an
emergency medical condition. Mot. Ex. A, at 94:2-9. Dr. Khan diagnosed
Plaintiff With a “recurrent hernia” and ruled out the existence of an
incarcerated umbilical hernia. Id. at 52:8-16; 94:18-20. Dr. Khan further
testified that, at the time that Plaintiff was discharged on April 9th, he
believed that her condition had stabilized and he expected no material
deterioration of her condition, Id. at 94:10-17.

Furthermore, the fact that Dr. Khan determined that Plaintiff had an

emergency medical condition during her April 10th visit does not create a

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fact issue regarding Defendant’s knowledge of an emergency medical
condition on April 9th. During Dr. Khan’s April 10th examination of
Plaintiff, he was able to take into account the prior laboratory findings and
CT scan from Plaintiff s prior visit, perform another physical examination,
speak with the treating surgeon who was on call for the surgeon who had
performed Plaintiff s prior hernia surgery, and, presumably, consider the
subsistence of Plaintiff s pain hours after her first discharge. See id. at 95:6-
96:23. Accordingly, especially because the medical screening examinations
were not identical, the fact that the April 10th medical screening
examination led to diagnosis of an emergency medical condition does not
suggest that the hospital was aware of such emergency medical condition
during the medical screening examination several hours earlier. ln other
words, it is not reasonable to infer that because Dr. Khan concluded that
Plaintiff had an emergency medical condition on April 10th, he had actual
knowledge of Plaintiff s emergency medical condition on April 9th.
Therefore, Dr. Khan’s determination of an emergency medical condition on
April 10th does not create a genuine issue of material fact as to whether

Defendant knew Plaintiff had an emergency medical condition on April 9th.

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2. Affidavit of William Allen Gibson
Though Plaintiff does not discuss it in her Response, Plaintiff attaches

the Affidavit of William Allen Gibson, lVl.D., as an exhibit to her Response.
Resp. Ex. C. The Court is of the opinion that Dr. Gibson’s affidavit does not
create a fact issue as to whether Defendant had actual knowledge of
Plaintiff s emergency medical condition on April 9th. “EMTALA requires
actual knowledge of an emergency medical condition; knowledge of
symptoms that could indicate the potential for such a condition is
insufficient to trigger the duty to stabilize.” Guzmom, 637 F. Supp. 2d at
507. Expert testimony that a specific condition diagnosed by a hospital is, in
fact, an emergency medical condition can create a fact issue as to whether
the hospital had actual knowledge of an emergency medical condition. For
example, in Battle, the Fifth Circuit held that the lower court erred in
granting judgment as a matter of law on the plaintiffs stabilization claim,
Battle, 228 F.3d at 559. Specifically,.the Fifth Circuit held that there was
evidence from which a jury could conclude that the hospital had released the
patient “even though the doctors knew he was suffering from seizures that
had not been stabilized and were of an unknown etiology.” Id. In particular,

the plaintiffs cited to the doctor’s written diagnosis of “seizure disorder” on

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the emergency room chart and presented expert testimony that “seizure
disorder” is an emergency medical condition because deterioration is likely to
occur. Id.

Here, Dr. Gibson’s affidavit does not create a fact issue because he
testified regarding certain results from Plaintiffs medical examination, not
the actual diagnosis that Plaintiff received. Specifically, Dr. Gibson testified
that certain results from Plaintiff s medical screening examination indicate
an incarcerated hernia, which can develop into a strangulated hernia, a
“surgical emergency.” Resp. Ex. C, at 1-2. Furthermore, Dr. Gibson testified
that “[s]evere abdominal pain is an emergency medical condition.” Id. at 2.
However, Dr. Gibson’s affidavit is silent on Dr. Khan’s actual diagnosis ln
particular, Dr. Khan diagnosed Plaintiff with a “recurrent hernia” and ruled
out the existence of an incarcerated umbilical hernia. Id. at 52:8-16; 94:18-
20. Therefore, the affidavit in this case is distinguishable from the expert
testimony in Battle because Dr. Gibson’s affidavit does not opine on Whether
the condition that Dr. Khan diagnosed is an emergency medical condition,
That Defendant might have had knowledge of certain results or symptoms
indicating the possibility of an emergency medical condition does not alone

trigger the duty to stabilize; a duty to stabilize is only triggered if there is

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actual knowledge of an emergency medical condition. Accordingly, Dr.
Gibson’s affidavit does not create a genuine dispute as to whether Dr. Khan
or the hospital had actual knowledge of an emergency medical condition,

3. Plaintiffs Pain

Lastly, the Court considers whether the existence of Plaintiff s pain at
the time of discharge creates a fact issue as to whether Defendant had
knowledge of an emergency medical condition, In her affidavit, Plaintiff
testifies that, when she was discharged on April 9th, “[her] pain was such
that [she] was not able to pay attention to the instructions.” Resp. Ex. D.
However, “[p] ain alone cannot impute actual knowledge of an emergency
medical situation to the hospital.” Stiles, 494 F. App’x at 437 (citing 42
U.S.C. § 1395dd(e)(1)). Furthermore, Plaintiff does not allege that
Defendant was aware of the severity of Plaintiff s pain at the time of
discharge, much less an emergency medical condition underlying it. lndeed,
Dr. Khan testified that, upon reevaluation of .Plaintiff, he found that her
abdominal pain had improved. Id. at 43:14~24. Therefore, the evidence of
Plaintiff s pain at the time of discharge does not create a fact issue regarding

Defendant’s knowledge of any emergency medical condition.

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In sum, Defendant has put forth evidence establishing that Defendant
had no actual knowledge of Plaintiff s emergency medical condition on April
9th, and Plaintiff has failed to cite to evidence in the record creating a
genuine dispute as to Defendant’s lack of actual knowledge Therefore,
because Defendant lacked actual knowledge of an emergency medical
condition, no duty to stabilize was triggered pursuant to EMTALA.

j Accordingly, Defendant is entitled to summary judgment regarding
Plaintiff s stabilization claim.
IV. CONCLUSION

In sum, Plaintiff has not cited to evidence in the record suggesting that
her screening (1) failed to comply with Defendant’s standard screening
procedure, (2) was different than the screenings that patients with similar
symptoms receive, or (3) was so cursory that it amounted to no screening at
all. Therefore, Defendant is entitled to summary judgment on Plaintiffs
screening claim. Furthermore, the undisputed facts in the record
demonstrate that Defendant had no actual knowledge of any emergency
medical condition that Plaintiff had on April 9th. Consequently, Defendant
had no duty to stabilize Plaintiff prior to her discharge on April 9th, and

Defendant is entitled to summary judgment on Plaintiff s stabilization claim.

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Thus, the Court is of the opinion that summary judgment should be granted
for Defendant as to Plaintiff s April 9th El\/l'l`ALA claims

Accordingly, IT IS ORDERED that Defendant El Paso Healthcare
System LTD dfb/a Del Sol Medical Center’s “l\/lotion for Suinniary Judgrnent”
(ECF No. 21) is GRANTED.

IT IS FURTHER ORDERED that Defendant El Paso Healthcare
System LTD dfb/a Del Sol Medical Centcr and Plaintiff Consuelo Cervantes
JOINTLY FILE, within seven (7) days of entry of this Order, a report
which states the parties’ positions on whether Plaintiff s Complaint claims

that Defendant violated El\/ITALA on April 10, 2016.

 

 

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